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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    EVANSVILLE DIVISION

 JOHN DOE,                                           )
                                                     )
                                Plaintiff,           )
                                                     )
                           v.                        )       No. 3:21-cv-00144-JRS-MPB
                                                     )
 UNIVERSITY OF SOUTHERN INDIANA,                     )
                                                     )
                                Defendant.           )

                                MAGISTRATE JUDGE’S ORDER ON
                                  SETTLEMENT CONFERENCE

        This matter came before the Honorable Matthew P. Brookman, United States Magistrate

 Judge, in Evansville, Indiana, at 9:30 a.m., Evansville time (CDT), on October 26, 2021, for a

 conference under Rule 16, Federal Rules of Civil Procedure. The parties were present and

 represented by counsel.

        The parties conducted settlement negotiations, but they were unable to reach an

 agreement. No further orders are entered at this time.

        SO ORDERED

 Dated: October 27, 2021




 Served electronically on all ECF-registered counsel of record.
